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                           Document108-1  Filed05/18/12
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                                                             Colorado Page
                                                                      Page11of
                                                                            of44
                            EXHIBIT A to MOTION TO QUASH                        1




                                           EXHIBIT A
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  Case1:11-cv-01611-MSK-CBS
       1:11-cv-01611-MSK-CBS Document
                             Document108-1 Filed05/18/12
                                      57-1 Filed 08/31/12 USDC
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                                                               Colorado Page
                                                                        Page22of
                                                                              of44


EXHIBIT A - MOTION TO QUASH                                                    2
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 Case1:11-cv-01611-MSK-CBS
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                            Document108-1 Filed05/18/12
                                     57-1 Filed 08/31/12 USDC
                                                         USDCColorado
                                                              Colorado Page
                                                                       Page33of
                                                                             of44


EXHIBIT A - MOTION TO QUASH                                                     3
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 Case1:11-cv-01611-MSK-CBS
      1:11-cv-01611-MSK-CBS Document
                            Document108-1 Filed05/18/12
                                     57-1 Filed 08/31/12 USDC
                                                         USDCColorado
                                                              Colorado Page
                                                                       Page44of
                                                                             of44



EXHIBIT A - MOTION TO QUASH                                                    4
